@JS 44 (Rev. 3/99) VIL COVER SHER
Case 2:04-cv-004 ND ocument1 File toa of 9 PagelD 1
The JS-44 civil cover sheet and the information con herein neither replace nor supplement the filing service of pleadings or other papers as required by

law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in Septe
the Clerk of Court for the purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.) R cE C

I. (a) PLAINTIFFS DEFENDANTS

TYUMEN OIL COMPANY;
TOC INVESTMENTS CORPORATION;
AND TNK-BP COMPANY

   
 
 
 
 

 

ALBERT MONCRIEFF

 

 

 

  

County of Residence of First Listed
(IN U.S. PLAINTIA
NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
LAND INVOLVED.

(b) County of Residence of First Listed Plaintiff Washington County, Texas

CLERRUSSARISTRICT COURT
(EXCEPT IN U.S. PLAINTIFF CASES) NOSTAEGN DISTRICT OF TEXAS

 

 

(c) Attomney’s (Firm Name, Address, and Telephone Number) Attorneys (If Known)

yy
Joseph Y. Ahmad, Ahmad, Zavitsanos & Anaipakos, P.C., 3 0 4 C Vy as A 2 6 oon M
3460 One Houston Center, 1221 McKinney St., Houston, Texas 77010-2009, USA
(713) 655-1101; (713) 655-0062, Telecopier

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Ul. BASIS OF JURISDICTION — @iace an ‘X” in One Box Only) I. CITIZENSHIP OF PRINCIPAL PARTIES Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
DEF PIF DEF
O1 US Government O 3. Federal Question Citizen of This State [11 1 Incorporated orPrincipalPlacee OF 4 14
Plaintiff (U.S Government Not a Party) of Business In This State
12 US Government X 4° Diversity Citizen of Another State 012 12  IncorporatedandPrincipalPlace O8 5 15
Defendant (Indicate Citizenship of Parties of Business In Another State
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Citizen or Subject of a O3 (3 | Poreign Nation O 6 O86
Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
© 110 Insurance PERSONAL INJURY PERSONALINJURY [1 610 Agriculture CO) 422 Appeal 28 USC 158 1 400 State Reapportionment
© 120 Marine O 310 Airplane O 362 Personal Injury— O 620 Other Food & Dug 0 410 Antitrust
C7] 130 Miller Act O 315 Airplane Product Med. Malpractice C) 625 Drug Related Seizure O 423 Withdrawal ( 430 Banks and Banking
0 140 Negotiable Instrument Liability O 365 Personal Injury — of Property 21 USC 881 28 USC 157 1 450 Commerce/ICC Rates/etc.
£1 150 Recovery of Overpayment {1 320 Assault, Libel & Product Liability O 630 Liquor Laws 0 460 Deportation
& Enforcement of Judgment Slander C1 368 Asbestos Personal O 640RR. & Truck PROPERTY RIGHTS (1 470 Racketeer Influenced and
(451 Medicare Act 0 330 Federal Employers’ Injury Product O 650 Airline Regs. Corrupt Organizations
0 152 Recovery of Defaulted Liability Liability {1 660 Occupational 5 B30 popvnel ts (1 810 Selective Service
Student Loans O 340 Marine PERSONAL PROPERTY Safety/Health Cl 340 Trademark (1 850 Securittes/Commodities/
(Excl Veterans) O 345 Marine Product {J 370 Other Fraud O 690 Other racemat Exchange
C1 153 Recovery of Overpayment Liability O 371 Truth in Lending © 875 Customer Challenge
of Veteran’s Benefits 1 350 Motor Vehicle CO 380 Other Personal LABOR SOCIAL SECURITY 12 USC 3410
D 160 Stockholders’ Suits 0 355 Motor Vehicle Property Damage O 891 Agricultural Acts
5 190 Other Contract Product Liability Cl 385 PropertyDamage [C710 yar Labor Standards 5 ey Ba Le (023) C 892 Roonomic Stabilization Act
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Proceeding State Court Appellate Court Reopened Litigation fudgment

 

VI. CAUSE OF ACTION

(Cite the U.S. Civil Statute under which you are filing and write brief statement of cause.
Do not cite jurisdictional statutes unless diversity.)

Plaintiff claims against Defendants is for a breach of contract. Diversity jurisdiction exists since Defendants are alien business entities.

 

VIL REQUESTED IN

L} CHECK IF THIS IS A CLASS ACTION

DEMAND $

CHECK YES only if demanded in complaint:

 

 

 

 

 

COMPLAINT: UNDER ER.CP. 23 JURY DEMAND: X Yes (No
(See
VOL RELATED CASE(S) instructions):
IF ANY UDG DOCKET NUMBER
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IN THE UNITED STATES DISTRICTICOURT-
FOR THE NORTHERN DISTRICT OR, TEXAS yap — | 2004

 

 

 

 

 

 

DALLAS DIVISION |
CTCOURT
F. ALBERT MONCRIEFF § CLERK, US.DISTR
Plaintiff, § y Deputy
§
VS. § CIVIL NO.
§
TYUMEN OIL COMPANY: §
TOC INVESTMENTS CORPORATION; §
AND TNK-BP COMPANY §
Defendants § JURY TRIAL DEMANDED

PLAINTIFF’S ORIGINAL COMPLAINT
COMES NOW, Plaintiff F. Albert Moncrieff (hereinafter referred to as
“Moncrieff” or “Plaintiff’?) and complains of Defendants Tyumen Oil Company
(“Tyumen” or “T'NK”), TOC Investments Corporation (“TOC”), and TNK-BP Company
(“TNK-BP”) (hereinafter the three defendants jointly are referred to as “Defendants”),

and will respectfully show the Court the following:

I.
INTRODUCTION
1. This action seeks damages for Defendants’ breach of contract.
2. Plaintiff suffers from cancer and, due to Defendant’s termination of his

Employment Agreement (at issue in this lawsuit), Plaintiffs COBRA benefits will
expire in approximately 17 months.
3. Due to his cancer, it will be difficult ifnot impossible for Plaintiff to obtain

health insurance after that date.

4. Accordingly, Plaintiff seeks an expedited discovery schedule and trial

setting.
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5. Plaintiff demands a jury on all issues triable to a jury.
II.
PARTIES
6. Plaintiff is an individual citizen of the United States residing in

Brenham, Washington County, Texas.

7. Defendant Tyumen Oil Company is a Russian Joint Stock Company with
principal offices in 625000, Tyumen, Lenina str., 67, Russian Federation, and
additional offices in 113093 Moscow, Schipok str., 18, bld. 2, Russian Federation.
Tyumen has consented to jurisdiction of the United States Courts in Dallas, Texas.
Service of the Summons and this Complaint may be made by service upon an officer
of the Corporation or pursuant to the means authorized by the Hague Convention on
the Service Abroad of Judicial and Extrajudicial Documents, pursuant to Fed. R. Civ.
Proc. 4(f) or 4(h)(1).

8. Defendant TOC Investments Corporation is registered under the laws of
the British Virgin Islands and has its office at Palm Chambers, P. O. Box 119, Road
Town, Tortola, British Virgin Islands. By accepting assignment of the Tyumen’s
obligations under the Employment Agreement between Moncrieff and Tyumen, TOC
Investments Corporation has consented to jurisdiction of the United States Courts in
Dallas, Texas. Service of the Summons and this Complaint may be made by service
upon an officer of the Corporation or pursuant to the means authorized by the Hague
Convention on the Service Abroad of Judicial and Extrajudicial Documents, pursuant

to Fed. R. Civ. Proc. 4(f) or 4(h)(1).

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9. Defendant TNK-BP is a Russian company jointly owned by BP p.Lc.
(“British Petroleum” or “BP”) and the Russian Alpha Group in cooperation with
Access/Renova Holdings (“AAR”). Its principal offices are located at 113093 Moscow,
Schipok str., 18, bld. 2, Russian Federation. As a successor of Tyumen, TNK-BP has
consented to the jurisdiction of the United States Courts in Dallas, Texas. Service of
the Summons and this Complaint may be made by service upon an officer of the
Corporation or pursuant to the means authorized by the Hague Convention on the
Service Abroad of Judicial and Extrajudicial Documents, pursuant to Fed. R. Civ. Proc.
A(f) or 4(h)(1).

10. Whenever in this petition it is alleged that any Defendant committed any
act or omission, it is meant that such Defendant’s officers, directors, principals, owners,
agents, servants, or employees committed such act or omission and that at the time
such act or omission was committed, it was done with the full authorization,
ratification or approval of the specified Defendant or was done in the routine normal
course and scope of employment of such Defendant’s officers, directors, principals,

owners, agents, servants, or employees.

ITI.
JURISDICTION AND VENUE

11. This is a diversity action between a citizen of the United States and
citizens or subjects of a foreign state with amount in controversy in excess of

$75,000.00.

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12. Accordingly, this Court has jurisdiction pursuant to 28 U.S.C. §
1332(a)(2).

13. Under 28 U.S.C. § 1331(a)(3) and (d), venue is proper in Dallas, Texas
because the Plaintiff resides in Texas, the Defendants are alien corporations, and
Section 7(g) of the parties’ contract at issue specifies that any disputes must be heard

in the federal courts of Dallas, Texas.

IV.
FACTS

14. +Plaintiff entered a written Employment Agreement (the “Agreement”)
with Tyumen Oil Company effective June 1, 2000.

15. Plaintiffs Employment Period was to continue until May 31, 2005.

16.  Plaintiffhas fully performed all of his obligations under the Agreement.

17. In October 2001, Tyumen assigned its rights and obligations under the
Agreement to TOC Investments Corporation.

18. However, under Paragraph 6 of the Agreement, notwithstanding the
assignment Tyumen remained “fully liable” to Plaintiff for the payment and
performance of all agreements and covenants made in the Agreement. |

19. In September, 2003, BP merged its Russian assets into those of Tyumen
Oil Company, creating TNK-BP, a joint venture between BP and AAR. As the
successor to TNK, TNK-BP has assumed TNK’s obligations under the Employment

Agreement.

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20. Under the Agreement, Defendants were obligated to pay Plaintiff a
monthly salary and an annual bonus.

21. Plaintiffs 2003 bonus was to have been at least $200,000.00 and was due
in December, 2003.

22. Defendants havenot paid Plaintiffhis 2003 bonus and have indicated that
they will not pay Plaintiff his salary from February, 2004 forward.

23. At all relevant times, Plaintiff has been ready and willing to perform
under the Agreement, but since the summer of 2003 Defendants have not allowed him
to do so.

24. Accordingly, Plaintiff has “Good Reason” (as defined in the Agreement)
to terminate the Agreement.

25. If the Agreement is terminated without Cause or for Plaintiffs Good
Reason, Defendants must meet all of their obligations under the Agreement for the
duration of the Employment Period.

26. On December 5, 2003, C. K. Potter, the Financial Director of O0AO TNK-
BP (acting on behalf of Tyumen and/or TOC) verbally advised Plaintiff that he had
decided not to utilize Plaintiffs services any further.

27. However, Tyumen and TOC did not comply with the Employment
Agreement’s requirements concerning termination or notice and neither stated nor
possessed Cause to terminate the Agreement.

28. On January 6, 2004, Plaintiff sent Notice of Default to Tyumen.

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29. OnJanuary 27, 2004, O0AO TNK-BP, on behalf of Tyumen, sent Plaintiff
a Notice of Termination purporting to terminate his employment for Cause.

30. However, the reasons stated in the Notice were not legitimate or true.

31. Plaintiffhas not failed to perform his obligations under the Employment
Agreement.

32. Plaintiffs job performance was always deemed acceptable by Defendants
as reflected in the bonus payments and salary previously paid to Plaintiff, and the fact
that Defendants did not previously advise Plaintiff of alleged poor job performance.

V.
CAUSES OF ACTION - BREACH OF CONTRACT

33. Plaintiffincorporates the allegations stated above. Defendants wrongfully
terminated the Employment Agreement and had no grounds for alleging the
termination was for “Cause.”

34. Defendants have failed to perform as promised under the Agreement, and
this failure constitutes a breach of contract.

35. Asa result of Defendants’ breach, Plaintiff has sustained significant
damages.

36. Defendants are indebted to Plaintiff for damages arising from the breach

of the contract.

VI.
DAMAGES

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37. As proximate results of Defendants’ breach of contract, Plaintiff has
suffered losses in the form of unpaid salary, benefits, bonuses, insurance, and other
benefits provided under the Employment Agreement.

38. In addition, Plaintiffhas suffered consequential damages including the
inability to retire certain debt and the increased cost of obtaining credit, which
constitutes injury to his credit reputation.

39. As provided in the Section 5 of the Agreement, Plaintiff is entitled to
recover all of his attorneys fees and expenses in pursuing this lawsuit.

40. In addition, under Section 38.001 of the Texas Civil Practice and
Remedies Code Plaintiff is entitled to recover his attorneys’ fees.

41. In addition, Plaintiff also seeks the following relief: (1) prejudgment and
post-judgment interest as allowed by law; (2) costs; and (3) all other legal or equitable
relief to which the Court deems Plaintiff entitled.

VII.
JURY DEMAND

42. Plaintiff demands trial by jury on all issues triable to a jury.

WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that upon final
hearing and trial hereof, this Court grant the relief requested above, taxable court
costs, pre-judgment and post-judgment interest, and attorney’s fees. Plaintiff further
respectfully requests that this Court grant him any such additional relief as the Court

may deem just and proper.

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Respectfully submitted,

AHMAD, ZAVITSANOS & ANATPAKOS, P.C.

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